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1                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
2    --------------------------X
     UNITED STATES OF AMERICA,      Docket No. 07-181
3                        Plaintiff,
                v.                  Washington, D.C.
4                                   August 24, 2009
                                    2:00 p.m.
5    ZHENLI YE GON,
                         Defendant.
6    ---------------------------X
                  IN CHAMBERS TELEPHONE STATUS HEARING
7               BEFORE THE HONORABLE EMMET G. SULLIVAN
                     UNITED STATES DISTRICT JUDGE
8    APPEARANCES:
     For the Plaintiff:    U.S. DEPARTMENT OF JUSTICE
9                          By: Mr. Paul O'Brien
                                Mr. Paul W. Laymon
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                               THE DISTRICT OF COLUMBIA
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25   Proceedings recorded by mechanical stenography, transcript
     produced by computer.
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1                             P-R-O-C-E-E-D-I-N-G-S

2                (2:00 P.M.; IN CHAMBERS; ALL COUNSEL APPEARING BY

3    TELEPHONIC CONFERENCE CALL.)

4                THE COURT:    Hi, good afternoon, Counsel.      Who's on

5    the phone?

6                MR. BALAREZO:    Good afternoon, Your Honor.          Eduardo

7    Balarezo.    I'll be here for Mr. Ye Gon.

8                THE COURT:    All right.    Mr. Balarezo.

9                MR. O'BRIEN:    Your Honor, this is Paul O'Brien with

10   the Department, and with me is Paul Laymon, Wanda Dixon and

11   Julius Rothstein.

12               THE COURT:    All right.    Good afternoon all.       I'm

13   sorry to have to assemble you on such short notice, but it was

14   just recently -- it just recently came to my attention that

15   the ABA had issued an opinion addressing issues that we've

16   been discussing.

17               Hold just one second.      I need to put you on hold

18   just for one second.      Hold on.

19               (PAUSE.)

20               THE COURT:    All right.    Counsel.

21               MR. BALAREZO:    Yes.

22               THE COURT:    Hold on one second.      Ms. Levick from

23   P.D.S. just called chambers, and we're just trying to

24   conference her in.     Hold on one second.

25               (PAUSE.)
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1               THE COURT:    All right.    I think we have everyone,

2    including Ms. Levick now; is that correct?

3               MS. LEVICK:    I'm --

4               MR. BALAREZO:     I'm here.

5               MR. O'BRIEN:    Government's still here.

6               THE COURT:    All right.    And Ms. Levick?

7               MS. LEVICK:    Yes, I'm here.

8               THE COURT:    All right.    Good afternoon.     How are

9    you?

10              MS. LEVICK:    Good, thank you.

11              THE COURT:    Good, good.     I was just apologizing to

12   counsel for giving such short notice.        All the prosecutors are

13   on the line, Ms. Levick is on the line, Mr. Balarezo for Mr.

14   Gon is on the line.

15              I'm sensitive to the timing in this case.         I'm

16   sensitive to the fact that there is another proceeding before

17   Magistrate Judge Kay, the extradition proceeding, and I want

18   to be very sensitive to that.       And I recognize that's been

19   rescheduled over Government objection, and I'm sensitive to

20   that as well.

21              By the same token, I'm also sensitive to the fact

22   that it was just recently brought to my attention that of

23   this -- this advisory opinion issued on the ABA rule, and I

24   wanted additional briefing, which is going to necessitate,

25   indeed, a -- another extension of time and another hearing
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1    date.

2               I'm also aware that Mr. Gon is not on -- Mr. Ye Gon

3    is not on the phone.     Here is what I'd like to do, and I'll

4    entertain any objections that counsel may have.          I'd like to

5    postpone the hearing to September the 8th.         I don't have any

6    matters scheduled that date.       I'm mindful that, you know,

7    everyone else has other cases and there may be some conflicts,

8    but that's a date that looks good for my calendar.

9               Any time on the 8th looks good.        The earlier the

10   better, but at this point I can't --

11              MR. O'BRIEN:     Your Honor, can I chime in?

12              THE COURT:    Sure.

13              MR. O'BRIEN:     This is Paul O'Brien for the

14   Government.    Thank you.

15              Your Honor, I'm going to be on vacation the week

16   preceding that.

17              THE COURT:    Right.

18              MR. O'BRIEN:     Is it possible to do it on September

19   14th?   That will give me some time to get back to make sure we

20   get our briefing done in order to prepare for the hearing.

21              MR. BALAREZO:     Your Honor, this is Eduardo Balarezo.

22   The 8th, although we hate to obviously have Mr. Gon keep going

23   with this, the 8th is fine with the Defense.

24              So the Court is aware, both Mr. Retureta and I will

25   be away on vacation the week before, as Mr. O'Brien, but we
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1    will be prepared to go forward on the 8th.         The Government has

2    a lot of hands that have been working with this.          I don't

3    think we need to push this further another week.

4               THE COURT:    You know, here's my -- I want

5    Mr. O'Brien present, and I'm also aware -- I mean, look,

6    people take vacations this time of year and that's right after

7    Labor Day as well, and it was with a lot of uneasiness that I

8    wanted to suggest the day after Labor Day, but it looked good

9    on my calendar.

10              The 14th looks just as good, Counsel.         I've got 10

11   matters on the 14th.     They're all important cases, but I

12   can -- you know, I have the flexibility of moving those cases.

13   Actually, I may not have to move them.        We could do it at

14   9:00 o'clock on the -- at 9:30 on the 14th.

15              MR. O'BRIEN:    Whenever is convenient for the Court

16   on the 14th, Your Honor.      We'll be prepared to go on that day.

17              THE COURT:    9:30 is fine.

18              MR. BALAREZO:     Your Honor, could we suggest sometime

19   the week of the 8th, though?       The problem is that the

20   extradition hearing is now set for the 17th.

21              THE COURT:    I understand that, and if necessary, if

22   need be, I'll speak with Judge Facciola.         I understand that,

23   and that's another reason why I didn't want to suggest --

24   originally I talked it over with my staff and we'd come up

25   with the date of the 15th or so, but I recognize that that
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1    extradition hearing is the 17th.

2               That's a major hearing.      There are two major events

3    in his life that week.     Let me just see if there's something

4    else.

5               MR. O'BRIEN:    That's why I proposed the 14th, Your

6    Honor, because it's prior to his next --

7               MR. BALAREZO:     Well, it is, but it's -- we're not

8    just going to show up for that hearing.        We have to prepare

9    for that hearing.     We have to prepare an additional filing in

10   that hearing and that's why we had anticipated we were going

11   to have the time necessary after the vacation, but you know...

12              THE COURT:    You know, it's different --

13              MR. BALAREZO:     Rather go on -- that's the week of

14   the 8th.

15              THE COURT:    Different Government counsel in that

16   extradition matter, though, right?        Is that correct?

17              MR. O'BRIEN:    Yes, Your Honor.

18              THE COURT:    And the Government, as I understand it,

19   the Government opposed the request to -- for an extension.

20              MR. O'BRIEN:    I believe that's correct, Your Honor.

21              THE COURT:    How much of a hardship is that,

22   Mr. Balarezo?    I mean, there are two hearings.        This one's

23   been fully briefed.     There's only one additional issue that

24   has to be briefed.     Is that -- you know, and --

25              MR. BALAREZO:     Your Honor, that's my point.         From
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1    Mr. Ye Gon's perspective, we're prepared to file something by

2    Thursday or Friday of this week, so then we can have the

3    entire next week to digest it.       We can have the hearing the

4    week of the 8th.

5               THE COURT:    Yeah, but Mr. O'Brien -- that's not a

6    good week for the Government.       I'm sensitive to that as well.

7    All right.    I'm going to make the 14th -- we're going to make

8    it the 14th.

9               MR. BALAREZO:     I understand Mr. O'Brien was gone the

10   week before, which is the same week we're going to be gone.

11              MR. O'BRIEN:    Your Honor, I would also point out our

12   obligations are somewhat different than Defense in this case.

13   We're going to be filing -- if the Court wants us to brief

14   this particular issue, obviously, this is important for the

15   Government not only in this case but it's important to make

16   sure that we have an opportunity to vet this through the

17   Department.

18              THE COURT:    I totally -- I couldn't agree with you

19   more.   I'm sure you want that opportunity.        Look --

20              MR. O'BRIEN:    That's why I think if I tried to hurry

21   it and file something quickly would be problematic for us.         If

22   we set it on 14th, we can do it first thing in the morning

23   on the 14th and then he's got a couple of days prior to the

24   extradition hearing.

25              THE COURT:    Let me do this.     It's the 14th, and if
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1    you want me to call Judge Facciola and tell him I've done this

2    and I'm sorry for it and, you know, I'll be happy to do that

3    and that I -- you know -- well, I don't want to say too much

4    more about it.

5               It's his calendar, it's his issue, but I want -- I'm

6    the heavy here, and no one's asked for this, and I'll be happy

7    to send him an e-mail and say, "John, I did this, and don't

8    blame anyone, and you may get a request to extend the time."

9               But let's do the 14th.      It's a big issue.     I mean,

10   I was -- I was -- I was surprised when I read it.          It hadn't

11   surfaced before in pleadings.       But, you know, it surfaced now

12   and so it's going to surface in these pleadings and it's

13   big -- it's a big issue.      So I'm going to schedule it for

14   9:30 on the 14th, and to the extent I have to move other

15   matters, I'll do that.

16              Mr. Balarezo, in fairness to you, you want me to say

17   anything to Judge Facciola, let him know that I did this on my

18   own?

19              MR. BALAREZO:     I'm not going to request it, but it

20   might be helpful.

21              THE COURT:    All right.    What else do you want me to

22   ask him?   Tell me now.    There's nothing wrong with that.

23   Look, I don't want to put you behind the eight-ball on this.

24   I really don't.    I'm not trying to do that.

25              MR. BALAREZO:     Well, we -- Look, the main reason is
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1    we're preparing, we're going through a lot of the

2    documentation that we were able to obtain finally from prior

3    counsel.   I don't know if you recall, Mr. McMahon recently

4    withdrew from all his cases.

5               THE COURT:    I read that in the newspaper somewhere,

6    I think, yeah.

7               MR. BALAREZO:     And we just obtained his files and

8    we're going through that in order to prepare an additional

9    filing which will be related to the extradition matter.

10              THE COURT:    Well, that sounds like -- I don't want

11   to prejudge what Judge Facciola may do.        That sounds like that

12   may be a basis to ask for more time.

13              Let me just do this:      I'm just going to send him an

14   e-mail and just say, "Judge Facciola, I did this on my own.         I

15   will not be surprised if someone asked for more time in your

16   case," and just leave it at that, all right?

17              MR. BALAREZO:     That's fine, Your Honor.

18              MR. O'BRIEN:    Your Honor, just --

19              MR. BALAREZO:     Your Honor, the other thing is --

20              THE COURT:    Wait.   Let me work backwards here.      All

21   right.   The hearing will be 9:30 on the 14th.

22              Now, the Government's the moving party.         It seems to

23   me that the Government should have the first opportunity to

24   file something addressing 3.8.       There's not a lot of time

25   between now and then.     A week from today, Counsel?
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1                MR. O'BRIEN:    That would be Monday -- that would

2    be -- I'm sorry, Judge, I'm looking at my calendar.

3                THE COURT:    That would be the 31st, I believe.

4                MR. O'BRIEN:    31st.   We could have something filed

5    by the -- close of business on the 31st?

6                THE COURT:    Right.    Close of business being what

7    time?

8                MR. O'BRIEN:    5:00 o'clock, Judge.      We'll consider

9    5:00 o'clock.    How's that?

10               THE COURT:    All right.    That sounds good.     All

11   right.    Now, the following is Labor Day, and I'm sensitive to

12   that.    I don't want you in your office on Labor Day, Counsel.

13   So you want to file a day or two after -- a day after Labor

14   Day?    I think that's the -- I think that's the 8th or you

15   tell me what's fair now.      Tell me -- you want Wednesday?

16               MR. BALAREZO:    Well, there is where the selfish

17   interests come in, Your Honor.        Mr. Retureta and I are going

18   to be gone on vacation beginning the 30th and we'll be back

19   on the 6th.

20               MR. O'BRIEN:    Judge, can both parties file pleadings

21   by 8/31, we'll do simultaneous filings?

22               THE COURT:    That sounds good.     Makes sense to me.

23   Counsel?

24               MR. BALAREZO:    That's fine.

25               THE COURT:    All right.
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1                MR. O'BRIEN:    Just on the extradition hearing

2    because there are different Government attorneys representing

3    United States, and if Defense wants to move for continuance,

4    if they could just file and serve it on the other attorneys,

5    they'll let them address that --

6                THE COURT:    That's fine.

7                MR. O'BRIEN:    -- whether they're opposed to it or

8    not.

9                THE COURT:    That's fine.    All right.    Simultaneous

10   filings on the 31st, that's fine.        If someone has a burning

11   desire to file something in response, I can get that -- I can

12   get that after you come back.       The hearing is the 14th.       I

13   want to get it that week, though, so let's just -- let's see,

14   the 14th is -- actually the 14th is a Monday.

15               By no later than Thursday.      That's the -- that's the

16   10th, yeah.

17               MR. BALAREZO:    That's fine.

18               THE COURT:    All right.    Counsel, thank you very

19   much.

20               MR. BALAREZO:    Your Honor, if I could just --

21               THE COURT:    Let me say one thing before I forget it

22   now.

23               MR. BALAREZO:    I haven't had a chance to speak.

24               THE COURT:    Wait, wait.    Let me just say one thing.

25   Now, Mr. Ye Gon is not present here.        Now, how do you want to
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1    handle is that?     Do you want me to bring him in court

2    tomorrow?    I'll be happy to do that.      This impacts him as

3    well.

4                MR. BALAREZO:    Your Honor, you know, that may not be

5    a bad idea, to be honest.       We've had several conversations

6    with him and he is at his wit's end with the way this is

7    proceeding.

8                THE COURT:    All right.    I'll do that.

9                MR. BALAREZO:    It might be better to hear directly

10   from the Court what's going on.

11               THE COURT:    All right.    I don't think I'm going to

12   change my mind because this is an important issue, but let me

13   just see what my calendar is like tomorrow.

14               Unfortunately, I'm looking at my calendar for

15   tomorrow.    It's -- we could do it early tomorrow.         Actually

16   that Polar Bear case is --

17               MS. SCHMITT:    It's gone.

18               THE COURT:    10:00 o'clock.    Let's do it 10:00

19   o'clock tomorrow.      Is that a fair time?     Wait, wait.    Let me

20   just put you on hold.      I am juggling a few things here.        Hold

21   on.

22               (PAUSE.)

23               THE COURT:    11:00 o'clock tomorrow, Counsel?

24               MR. BALAREZO:    You think you can get him in in time?

25               THE COURT:    Where is he?
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1                MR. O'BRIEN:    Mr. Laymon is telling me he's housed a

2    considerable distance from the courthouse.         He's not sure the

3    marshals can get him in.

4                THE COURT:    I'll call the marshals now.       We'll get

5    him here.

6                MR. O'BRIEN:    Okay.    We'll be there tomorrow at

7    10:00, Your Honor.

8                THE COURT:    Let's make it 11:00 o'clock, Counsel.

9                MR. O'BRIEN:    11:00 o'clock tomorrow?

10               THE COURT:    Yes.    Now, I have you-all on the phone

11   now.    I'm going to call -- we're going to get him here.

12               Where is he now, Counsel?

13               MR. BALAREZO:    He's in the Central Virginia Regional

14   Jail.

15               THE COURT:    Okay.    I'm going to call -- All right.

16   I'll call someone.     We'll get him here.      Unfortunately all of

17   my people are no longer here in this court.          I hate to lose

18   you.    I have everyone on the phone right now.        We'll get him

19   here.    We'll get him here at 11:00 o'clock.        For some reason I

20   can't, I'll get you back on the phone this afternoon.

21               MR. O'BRIEN:    Thank you, Your Honor.

22               THE COURT:    All right.

23               MR. BALAREZO:    I did have that one issue that I

24   wanted to bring up for the purposes of the briefs.

25               THE COURT:    Sure.
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1                MR. BALAREZO:    In the last page of the opinion, it

2    mentions the obligations of supervisors and other prosecutors

3    who are not personally responsible for the prosecution.

4                THE COURT:    Right.

5                MR. BALAREZO:    And I think that raises an issue of

6    who is speaking for the Government now, because Mr. O'Brien

7    and Mr. Rothstein clearly were the supervisors of Mr. Laymon

8    and Ms. Dixon in this case, and they may have -- I don't know

9    if it would be better for other parties to be involved in

10   speaking for the Government given that, you know --

11               THE COURT:    I'm not going to intrude in that arena.

12   The Government can decide who the Government wants to speak

13   for the Government.      I will leave it at that, Counsel.

14               MR. BALAREZO:    Very well.

15               MR. O'BRIEN:    Thank you, Your Honor.

16               THE COURT:    All right.    See everyone tomorrow

17   morning at 11:00 o'clock.

18               MR. BALAREZO:    Thank you.

19               MS. LEVICK:    Thank you, Your Honor.

20               THE COURT:    All right.    Bye-bye.

21               (PROCEEDINGS END AT 2:15 A.M.)

22                              *-*-*-*
                        CERTIFICATE OF REPORTER
23             I, Catalina Kerr, certify that the foregoing is a
     correct transcript from the record of proceedings in the
24   above-entitled matter.

25   ________________________________ ____________________
     Catalina Kerr                     Date
